                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

Atlanta Plumbers and Steamfitters
Health and Welfare Fund, Atlanta
Plumbers and Steamfitters Retiree
Health and Welfare Fund, Atlanta
Plumbers and Steamfitters Pension
Fund, Plumbers and Steamfitters
Local 72 Defined Contribution Fund,
and Terry Newsome, Jr. and Jon
Sterling, as Trustees of said Funds,

                 Plaintiffs,

        vs.                                     Case No.: 1:21-cv-03263-ELR

Metropolitan Mechanical, Inc.,

                 Defendant.


                           Declaration of C. Knox Withers

        I, C. Knox Withers, declare under penalty of perjury that the following facts

 are true and correct to the best of my knowledge, information, and belief:

        1.    I am an attorney licensed to practice law in the State of Georgia.

        2.    I am a partner with the law firm of Arnall Golden Gregory LLP

(“AGG”) in Atlanta, Georgia, and I have been practicing law since 2005.

        3.    I represent Plaintiffs Atlanta Plumbers and Steamfitters Health and

Welfare Fund, Atlanta Plumbers and Steamfitters Retiree Health and Welfare



17456790v1
Fund, Atlanta Plumbers and Steamfitters Pension Fund, Plumbers and Steamfitters

Local 72 Defined Contribution Fund (collectively, “Funds”), and Terry Newsome

Jr. and Jon Sterling, as Trustees of the Funds (“Trustees” and, together with the

Funds, “Plaintiffs”) in the above captioned litigation currently pending before

this Court.

        4.    This affidavit is submitted in support of Plaintiffs’ Motion for

Default      Judgment   against   Defendant   Metropolitan    Mechanical,    Inc.

(“Defendant”).

        5.    The documents attached hereto as Exhibit 1 are true and correct

copies of invoices reflecting the attorney’s fees incurred through November 30,

2021, by the Funds in this litigation. The documents reflect the amounts actually

charged by AGG to the Funds in connection with this litigation.

        6.    The reasonable and necessary fees and expenses incurred by the

Funds for the legal services performed by AGG in connection with this litigation

for the time period from August 1, 2021, through October 31, 2021, are 6,328.23.1

AGG has spent additional time preparing, researching, and filing the Motion for

Default Judgment and this Affidavit, which is not included in the amount stated

above.


1    At Plaintiffs’ request, AGG split the attorney’s fees incurred between the
Funds and remitted invoices to each Fund for each billing period.

17456790v1
        7.   AGG billed Plaintiffs for professional services on an hourly basis.

        8.   As a partner in AGG, I am familiar with its business records and

procedures relating to the billing of its professional staff’s time for services and

related expenses to clients, and I have access to and routinely work with these

records as part of my responsibilities for AGG. In connection with the filing of

Plaintiffs’ Motion for Default Judgment, I reviewed all of the invoices included in

Exhibit 1.

        9.   In the regular course of its business, AGG has timekeepers, typically

lawyers and paraprofessionals, record their time on the day such services are

provided or within a reasonable time thereafter. During the time period at issue,

such recordation of the time spent and the services rendered on this matter was

made by all timekeepers at least weekly, and such time is entered into AGG’s

billing system at that time. These timekeepers record their time in 1/10 hour

increments. The preparation of such time records, the weekly entry of such time

into AGG’s client billing system, and the generation of client invoices from the

time records are all tasks which are done in the regular course of AGG’s business

operations. Further, the time records and invoices are business records prepared

and utilized by AGG and me in the ordinary course of our business operations,

and AGG and I are in the business of relying on such business records as part of

the operation of our professional practice.

17456790v1
        10.   I have been actively involved in this litigation since the time the

Complaint was filed. Based on my participation in the case and my supervisory

efforts on the matter, I cooperated and coordinated with the other AGG attorneys

and paralegals working on this matter, such that I am extremely familiar with the

services they performed.      More specifically, I participated in the planning,

supervision, and execution of the efforts undertaken by AGG attorneys and

paralegals in connection with the work reflected on the invoices contained in

Exhibit 1.

        11.   During the referenced period of time, the billing rates for the

timekeepers on this matter ranged from $280.00 per hour for paralegal time to

$595.00 per hour for partner time. Specifically, the hourly rate ranges for the

primary timekeepers on this matter for AGG during the time frame at issue are

as follows: C. Knox Withers, $595.00; Jeffrey D. Gordon, $475.00; and Rebecca S.

Snyder, $280.00.

        12.   I am familiar with the work required to pursue the claims Plaintiffs

asserted in this litigation. Based on my personal supervision of AGG’s work on

the case, and my review of AGG’s business records reflecting the work

performed and the expenses incurred in connection with the defense of this

Action, AGG’s reasonable and necessary work includes, but is not limited to:

              a.    The preparation and drafting of Plaintiffs’ Complaint;

17456790v1
              b.    Serving Defendant with a summons and the Complaint;

              c.    Review and analysis of legal authority and documents
                    relevant to the applicable facts and to the claims in this
                    litigation;

              d.    Researching and preparing Plaintiffs’ Request for Entry of
                    Default;

              e.    Responding to Defendant’s Motion to Vacate Entry of Default;
                    and

              f.    Researching and preparing Plaintiffs’ Second Request for
                    Entry of Default and Motion for Default Judgment and other
                    supporting materials necessary for same.

        13.   I have significant personal experience handling and monitoring

cases with legal and factual complexities comparable to the instant case. I have

represented numerous parties in connection with various types of civil litigation.

        14.   In my practice, I have had the opportunity to observe, on a

continuing basis, the fees actually charged by attorneys in the area for litigation

involving claims similar in complexity to those asserted in this case. Based on

my experience and observation, AGG’s hourly rates claimed herein are within

the market range charged for work by attorneys of comparable experience and

background on similar matters and are, therefore, reasonable.

        15.   All of the time for service and the amounts billed for expenditures

was reasonable and necessary to pursue Plaintiffs’ claims. Based on my legal

experience and my personal knowledge of the services rendered, the time


17456790v1
expended was reasonable in relation to the tasks undertaken, and the tasks were

reasonably necessary to pursue Plaintiffs' claims.

         December 20, 2021.




                                    C. Knox Witifers, Declarant




17456790v1
                   EXHIBIT 1

             TO WITHERS AFFIDAVIT




17456790v1
Atlanta Plumbers and Steamfitters Local 72 Health and Welfare Fund                            September 14, 2021
Attn: Karin Peters                                                                            Invoice #841295
2010 N.W. 150th Avenue                                                                        Jeffrey D. Gordon
Suite 100
Pembroke Pines, FL 33028


For Legal Services Rendered In Connection With:

Client/Matter #35001-7
Metropolitan Mechanical, Inc.



 DATE            TIMEKEEPER                          HOURS         DESCRIPTION
 08/09/21          C. Withers                          0.20        SPLIT WITH 35002.7, 35003.4, AND 35048.8 -
                                                                   Review background documents; draft complaint

 08/10/21          C. Withers                          0.20        Revise draft complaint; finalize same for filing

 08/10/21          R. Snyder                           0.10        Communications with K. Withers, S. Samuels
                                                                   regarding new complaint, Certificate of Interested
                                                                   Person and Corporate Disclosure Statement; draft
                                                                   Summons, civil cover sheet; related communications
                                                                   with team

 08/11/21          C. Withers                          0.40        Work on summons and civil cover sheet; draft
                                                                   certificate of interested persons and corporate
                                                                   disclosure statement; draft correspondence to
                                                                   Secretaries of Labor and Treasury regarding
                                                                   complaint; follow-up work regarding same

 08/11/21          R. Snyder                           0.20        Finalize and prepare for entry with court Complaint,
                                                                   Summons, civil cover sheet, Certificate of Interested
                                                                   Persons; communications with K. Withers, S.
                                                                   Samuels regarding filing, service of same

 08/17/21          C. Withers                          0.20        SPLIT WITH 35002.7, 35003.4, AND 35048.8 - File
                                                                   affidavit of service

 08/27/21          C. Withers                          0.20        File leave of absence

                                                                                Total Hours                           1.50




                      A LATE CHARGE OF 1-1/2% PER MONTH WILL BE APPLIED TO BALANCES OUTSTANDING OVER 60 DAYS


                                                          FEI# XX-XXXXXXX

                                                 Atlanta, GA | Washington, DC


                        ALL BILLING RELATED QUERIES: Phone: 404.873.8500 | Fax: 404.873.8501
                                                                                       September 14, 2021
Atlanta Plumbers and Steamfitters Local 72 Health and Welfare Fund                     Invoice #841295
                                                                                       Jeffrey D. Gordon
Client/Matter #35001-7                                                                 Page 2



 DATE               TIMEKEEPER                      HOURS       DESCRIPTION
                                                                        Total For Services                  $798.00



 EXPENSES:
        VENDOR: SunTrust Bankcard, N.A.; INVOICE#: PCARD-8/12/2021;                                          100.50
        DATE: 8/13/2021. Georgia Northern District Court on 8/11/21.

           VENDOR: Express Legal Services LLC INVOICE#: 15271 DATE:                                           50.00
           8/26/2021
           Service for Metropolitan Mechanical Inc. - Atlanta Plumbers


                                                                          Total Expenses                    $150.50




                                                                Fees             Disbursements                 Total

               CURRENT CHARGES:                               $798.00                   $150.50              $948.50

                       Total Balance Due:                     $798.00                   $150.50              $948.50


                                                                           Total This Statement              $948.50




                                            Attorney and Paralegal Summary
                                              Hours Worked         Billed Per Hour                      Bill Amount

 Snyder, Rebecca S.                                0.30                     $280.00                           $84.00

 Withers, C. Knox                                  1.20                     $595.00                          $714.00


 Total All Attorneys                                   1.50                                                  $798.00




                                                 Atlanta, GA | Washington, DC
Atlanta Plumbers and Steamfitters Local 72 Health and Welfare Fund                                    September 14, 2021
Attn: Karin Peters                                                                                    Invoice #841295
2010 N.W. 150th Avenue                                                                                Jeffrey D. Gordon
Suite 100
Pembroke Pines, FL 33028

Invoices Due as of September 14, 2021 in connection with:

Client - #35001 - Atlanta Plumbers and Steamfitters Local
Matter - #7 - Metropolitan Mechanical, Inc.

 Invoice No.           Date             Amount Billed                    Amount Received                   Amount Outstanding
   841295            09/14/21                         $948.50                             ($0.00)                     $948.50



                  TOTAL AMOUNT DUE FOR THIS MATTER                                                                    $948.50




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                                           instructions provided below




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                        Remit Check Payments to:                                     For Billing Inquires:
                        Arnall Golden Gregory, LLP                                   Phone: 404-873-8500
                        171 17th Street, NW                                          Fax: 404-873-8501
                        Suite 2100                                                   Email: creditremit@agg.com
                        Atlanta, GA 30363

                                                       ACH / Wire Instructions:
                                Name of our bank:                      Truist Bank, Atlanta
                                ABA Bank Routing Number*:              061000104
                                Name of Account to be credited:        Arnall Golden Gregory LLP
                                Account Number to be credited:         1000095973839
                                Reference client name and/or number:   35001-7/841295

                                         *For International wires; SWIFT Code: SNTRUS3A
                                       _________________________________________________________________


                                                    Atlanta, GA | Washington, DC
Atlanta Plumbers and Steamfitters Local 72 Health and Welfare Fund                            October 8, 2021
Attn: Karin Peters                                                                            Invoice #843742
2010 N.W. 150th Avenue                                                                        Jeffrey D. Gordon
Suite 100
Pembroke Pines, FL 33028


For Legal Services Rendered In Connection With:

Client/Matter #35001-7
Metropolitan Mechanical, Inc.



 DATE            TIMEKEEPER                          HOURS         DESCRIPTION
 09/06/21          C. Withers                          0.10        Begin drafting motion for entry of default

 09/07/21          C. Withers                          0.50        SPLIT WITH 35002.7, 35003.4, AND 35048.8
                                                                   -Continue drafting motion for entry of judgment

 09/08/21          R. Snyder                           0.20        Finalize and prepare for entry with court Motion for
                                                                   Entry of Default, Withers Declaration, and Proposed
                                                                   Entry of Default; related communications with K.
                                                                   Withers

 09/08/21          J. Gordon                           0.10        Conference with Knox Withers; phone calls to Harris
                                                                   Hutto and NEBA re: service of process issue

 09/14/21          C. Withers                          0.20        Continue drafting motion for entry of judgment

 09/17/21          C. Withers                          0.20        Draft response to motion to vacate default

                                                                                  Total Hours                        1.30

                                                                            Total For Services                    $698.50



 EXPENSES:
        POSTAGE                                                                                                      0.73

                                                                              Total Expenses                        $0.73




                      A LATE CHARGE OF 1-1/2% PER MONTH WILL BE APPLIED TO BALANCES OUTSTANDING OVER 60 DAYS


                                                          FEI# XX-XXXXXXX

                                                 Atlanta, GA | Washington, DC


                        ALL BILLING RELATED QUERIES: Phone: 404.873.8500 | Fax: 404.873.8501
                                                                                     October 8, 2021
Atlanta Plumbers and Steamfitters Local 72 Health and Welfare Fund                   Invoice #843742
                                                                                     Jeffrey D. Gordon
Client/Matter #35001-7                                                               Page 2




                                                                Fees            Disbursements                 Total

               CURRENT CHARGES:                               $698.50                   $0.73               $699.23

                       Total Balance Due:                     $698.50                   $0.73               $699.23


                                                                         Total This Statement               $699.23




                                            Attorney and Paralegal Summary

                                              Hours Worked         Billed Per Hour                       Bill Amount

 Snyder, Rebecca S.                                0.20                   $280.00                            $56.00

 Gordon, Jeffrey D.                                0.10                   $475.00                            $47.50

 Withers, C. Knox                                  1.00                   $595.00                           $595.00


 Total All Attorneys                                   1.30                                                 $698.50




                                                 Atlanta, GA | Washington, DC
Atlanta Plumbers and Steamfitters Local 72 Health and Welfare Fund                                    October 8, 2021
Attn: Karin Peters                                                                                    Invoice #843742
2010 N.W. 150th Avenue                                                                                Jeffrey D. Gordon
Suite 100
Pembroke Pines, FL 33028

Invoices Due as of October 8, 2021 in connection with:

Client - #35001 - Atlanta Plumbers and Steamfitters Local
Matter - #7 - Metropolitan Mechanical, Inc.

 Invoice No.           Date             Amount Billed                    Amount Received                   Amount Outstanding
   843742            10/08/21                         $699.23                             ($0.00)                     $699.23



                  TOTAL AMOUNT DUE FOR THIS MATTER                                                                    $699.23




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                        Arnall Golden Gregory, LLP                                   Phone: 404-873-8500
                        171 17th Street, NW                                          Fax: 404-873-8501
                        Suite 2100                                                   Email: creditremit@agg.com
                        Atlanta, GA 30363

                                                       ACH / Wire Instructions:
                                Name of our bank:                      Truist Bank, Atlanta
                                ABA Bank Routing Number*:              061000104
                                Name of Account to be credited:        Arnall Golden Gregory LLP
                                Account Number to be credited:         1000095973839
                                Reference client name and/or number:   35001-7/843742

                                         *For International wires; SWIFT Code: SNTRUS3A
                                       _________________________________________________________________


                                                    Atlanta, GA | Washington, DC
Atlanta Plumbers and Steamfitters Local 72 Health and Welfare Fund                            November 4, 2021
Attn: Karin Peters                                                                            Invoice #846094
2010 N.W. 150th Avenue                                                                        Jeffrey D. Gordon
Suite 100
Pembroke Pines, FL 33028


For Legal Services Rendered In Connection With:

Client/Matter #35001-7
Metropolitan Mechanical, Inc.


 DATE            TIMEKEEPER                          HOURS         DESCRIPTION
 10/04/21          J. Gordon                           0.50        Conference with Knox Withers regarding
                                                                   Metropolitan Mechanical; conference with Trustees
                                                                   regarding default judgment; legal research

 10/05/21          C. Withers                          0.20        SPLIT WITH 35002.7, 35003.4, AND 35048.8 -
                                                                   Analysis of Court's order setting aside default and
                                                                   requiring Defendant to answer and deposit $40,000
                                                                   into the Court's registry by October 19, 2021

                                                                                  Total Hours                        0.70

                                                                            Total For Services                    $356.50




                                                                    Fees             Disbursements                   Total
               CURRENT CHARGES:                                $356.50                           $0.00            $356.50

                    Total Balance Due:                         $356.50                           $0.00            $356.50


                                                                               Total This Statement               $356.50




                      A LATE CHARGE OF 1-1/2% PER MONTH WILL BE APPLIED TO BALANCES OUTSTANDING OVER 60 DAYS


                                                          FEI# XX-XXXXXXX

                                                 Atlanta, GA | Washington, DC


                        ALL BILLING RELATED QUERIES: Phone: 404.873.8500 | Fax: 404.873.8501
                                                                               November 4, 2021
Atlanta Plumbers and Steamfitters Local 72 Health and Welfare Fund             Invoice #846094
                                                                               Jeffrey D. Gordon
Client/Matter #35001-7                                                         Page 2



                                     Attorney and Paralegal Summary
                                       Hours Worked          Billed Per Hour                       Bill Amount

 Gordon, Jeffrey D.                           0.50                   $475.00                          $237.50

 Withers, C. Knox                             0.20                   $595.00                          $119.00


 Total All Attorneys                             0.70                                                 $356.50




                                           Atlanta, GA | Washington, DC
Atlanta Plumbers and Steamfitters Local 72 Health and Welfare Fund                                    November 4, 2021
Attn: Karin Peters                                                                                    Invoice #846094
2010 N.W. 150th Avenue                                                                                Jeffrey D. Gordon
Suite 100
Pembroke Pines, FL 33028

Invoices Due as of November 4, 2021 in connection with:

Client - #35001 - Atlanta Plumbers and Steamfitters Local
Matter - #7 - Metropolitan Mechanical, Inc.

 Invoice No.           Date             Amount Billed                    Amount Received                   Amount Outstanding
   846094            11/04/21                         $356.50                             ($0.00)                     $356.50



                  TOTAL AMOUNT DUE FOR THIS MATTER                                                                    $356.50




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                        171 17th Street, NW                                          Fax: 404-873-8501
                        Suite 2100                                                   Email: creditremit@agg.com
                        Atlanta, GA 30363

                                                       ACH / Wire Instructions:
                                Name of our bank:                      Truist Bank, Atlanta
                                ABA Bank Routing Number*:              061000104
                                Name of Account to be credited:        Arnall Golden Gregory LLP
                                Account Number to be credited:         1000095973839
                                Reference client name and/or number:   35001-7/846094

                                         *For International wires; SWIFT Code: SNTRUS3A
                                       _________________________________________________________________


                                                    Atlanta, GA | Washington, DC
Atlanta Plumbers and Steamfitters Local 72 Health and Welfare Fund                               December 7, 2021
Attn: Karin Peters                                                                               Invoice #849361
2010 N.W. 150th Avenue                                                                           Jeffrey D. Gordon
Suite 100
Pembroke Pines, FL 33028


For Legal Services Rendered In Connection With:

Client/Matter #35001-7
Metropolitan Mechanical, Inc.



 DATE               TIMEKEEPER                          HOURS          DESCRIPTION
 11/08/21           C. Withers                            0.20         Draft and file second motion for entry of default
                                                                       judgment

                                                                                      Total Hours                          0.20

                                                                                Total For Services                   $119.00




                                                                        Fees             Disbursements                     Total

               CURRENT CHARGES:                                    $119.00                           $0.00            $119.00

                       Total Balance Due:                          $119.00                           $0.00            $119.00


                                                                                   Total This Statement               $119.00




                                            Attorney and Paralegal Summary
                                               Hours Worked                Billed Per Hour                        Bill Amount

 Withers, C. Knox                                      0.20                         $595.00                           $119.00


 Total All Attorneys                                       0.20                                                       $119.00




                         A LATE CHARGE OF 1-1/2% PER MONTH WILL BE APPLIED TO BALANCES OUTSTANDING OVER 60 DAYS


                                                              FEI# XX-XXXXXXX

                                                    Atlanta, GA | Washington, DC


                           ALL BILLING RELATED QUERIES: Phone: 404.873.8500 | Fax: 404.873.8501
                                                                          December 7, 2021
Atlanta Plumbers and Steamfitters Local 72 Health and Welfare Fund        Invoice #849361
                                                                          Jeffrey D. Gordon
Client/Matter #35001-7                                                    Page 2




                                           Atlanta, GA | Washington, DC
Atlanta Plumbers and Steamfitters Local 72 Health and Welfare Fund                                    December 7, 2021
Attn: Karin Peters                                                                                    Invoice #849361
2010 N.W. 150th Avenue                                                                                Jeffrey D. Gordon
Suite 100
Pembroke Pines, FL 33028

Invoices Due as of December 7, 2021 in connection with:

Client - #35001 - Atlanta Plumbers and Steamfitters Local
Matter - #7 - Metropolitan Mechanical, Inc.

 Invoice No.           Date             Amount Billed                    Amount Received                   Amount Outstanding
   849361            12/07/21                         $119.00                             ($0.00)                     $119.00



                  TOTAL AMOUNT DUE FOR THIS MATTER                                                                    $119.00




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                        171 17th Street, NW                                          Fax: 404-873-8501
                        Suite 2100                                                   Email: creditremit@agg.com
                        Atlanta, GA 30363

                                                       ACH / Wire Instructions:
                                Name of our bank:                      Truist Bank, Atlanta
                                ABA Bank Routing Number*:              061000104
                                Name of Account to be credited:        Arnall Golden Gregory LLP
                                Account Number to be credited:         1000095973839
                                Reference client name and/or number:   35001-7/849361

                                         *For International wires; SWIFT Code: SNTRUS3A
                                       _________________________________________________________________


                                                    Atlanta, GA | Washington, DC
Atlanta Plumbers and Steamfitters Local 72 Pension Fund                                        September 14, 2021
Attn: Karin Peters                                                                             Invoice #841296
2010 N.W. 150th Avenue                                                                         Jeffrey D. Gordon
Suite 100
Pembroke Pines, FL 33028


For Legal Services Rendered In Connection With:

Client/Matter #35002-7
Metropolitan Mechanical, Inc.



 DATE            TIMEKEEPER                          HOURS         DESCRIPTION
 08/09/21          C. Withers                          0.20        Review background documents; draft complaint

 08/10/21          C. Withers                          0.10        Revise draft complaint; finalize same for filing

 08/10/21          R. Snyder                           0.10        Communications with K. Withers, S. Samuels
                                                                   regarding new complaint, Certificate of Interested
                                                                   Person and Corporate Disclosure Statement; draft
                                                                   Summons, civil cover sheet; related communications
                                                                   with team

 08/11/21          R. Snyder                           0.20        Finalize and prepare for entry with court Complaint,
                                                                   Summons, civil cover sheet, Certificate of Interested
                                                                   Persons; communications with K. Withers, S.
                                                                   Samuels regarding filing, service of same

 08/11/21          C. Withers                          0.40        Work on summons and civil cover sheet; draft
                                                                   certificate of interested persons and corporate
                                                                   disclosure statement; draft correspondence to
                                                                   Secretaries of Labor and Treasury regarding
                                                                   complaint; follow-up work regarding same

 08/17/21          C. Withers                          0.10        File affidavit of service

 08/27/21          C. Withers                          0.20        File leave of absence

                                                                                  Total Hours                         1.30

                                                                            Total For Services                   $679.00




                      A LATE CHARGE OF 1-1/2% PER MONTH WILL BE APPLIED TO BALANCES OUTSTANDING OVER 60 DAYS


                                                          FEI# XX-XXXXXXX

                                                 Atlanta, GA | Washington, DC


                        ALL BILLING RELATED QUERIES: Phone: 404.873.8500 | Fax: 404.873.8501
                                                                                     September 14, 2021
Atlanta Plumbers and Steamfitters Local 72 Pension Fund                              Invoice #841296
                                                                                     Jeffrey D. Gordon
Client/Matter #35002-7                                                               Page 2




 EXPENSES:
        VENDOR: SunTrust Bankcard, N.A.; INVOICE#: PCARD-8/12/2021;                                        100.50
        DATE: 8/13/2021. Georgia Northern District Court on 8/11/21.


                                                                         Total Expenses                   $100.50




                                                                Fees            Disbursements                Total
               CURRENT CHARGES:                               $679.00                 $100.50              $779.50

                       Total Balance Due:                     $679.00                 $100.50              $779.50


                                                                         Total This Statement              $779.50




                                            Attorney and Paralegal Summary
                                              Hours Worked         Billed Per Hour                    Bill Amount

 Snyder, Rebecca S.                                0.30                   $280.00                           $84.00

 Withers, C. Knox                                  1.00                   $595.00                          $595.00


 Total All Attorneys                                   1.30                                                $679.00




                                                 Atlanta, GA | Washington, DC
Atlanta Plumbers and Steamfitters Local 72 Pension Fund                                               September 14, 2021
Attn: Karin Peters                                                                                    Invoice #841296
2010 N.W. 150th Avenue                                                                                Jeffrey D. Gordon
Suite 100
Pembroke Pines, FL 33028

Invoices Due as of September 14, 2021 in connection with:

Client - #35002 - Atlanta Plumbers and Steamfitters Local
Matter - #7 - Metropolitan Mechanical, Inc.

 Invoice No.           Date             Amount Billed                    Amount Received                   Amount Outstanding
   841296            09/14/21                         $779.50                             ($0.00)                     $779.50



                  TOTAL AMOUNT DUE FOR THIS MATTER                                                                    $779.50




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                        Remit Check Payments to:                                     For Billing Inquires:
                        Arnall Golden Gregory, LLP                                   Phone: 404-873-8500
                        171 17th Street, NW                                          Fax: 404-873-8501
                        Suite 2100                                                   Email: creditremit@agg.com
                        Atlanta, GA 30363

                                                       ACH / Wire Instructions:
                                Name of our bank:                      Truist Bank, Atlanta
                                ABA Bank Routing Number*:              061000104
                                Name of Account to be credited:        Arnall Golden Gregory LLP
                                Account Number to be credited:         1000095973839
                                Reference client name and/or number:   35002-7/841296

                                         *For International wires; SWIFT Code: SNTRUS3A
                                       _________________________________________________________________


                                                    Atlanta, GA | Washington, DC
Atlanta Plumbers and Steamfitters Local 72 Pension Fund                                       October 8, 2021
Attn: Karin Peters                                                                            Invoice #843741
2010 N.W. 150th Avenue                                                                        Jeffrey D. Gordon
Suite 100
Pembroke Pines, FL 33028


For Legal Services Rendered In Connection With:

Client/Matter #35002-7
Metropolitan Mechanical, Inc.



 DATE            TIMEKEEPER                          HOURS         DESCRIPTION
 09/08/21          J. Gordon                           0.10        Conference with Knox Withers; phone calls to Harris
                                                                   Hutto and NEBA re: service of process issue

 09/14/21          C. Withers                          0.10        Follow up work on Defendant's default and motion to
                                                                   vacate same

 09/17/21          C. Withers                          0.20        Draft response to motion to vacate default

                                                                                  Total Hours                        0.40

                                                                            Total For Services                    $226.00




                                                                    Fees             Disbursements                   Total
               CURRENT CHARGES:                                $226.00                           $0.00            $226.00

                    Total Balance Due:                         $226.00                           $0.00            $226.00


                                                                               Total This Statement               $226.00




                      A LATE CHARGE OF 1-1/2% PER MONTH WILL BE APPLIED TO BALANCES OUTSTANDING OVER 60 DAYS


                                                          FEI# XX-XXXXXXX

                                                 Atlanta, GA | Washington, DC


                        ALL BILLING RELATED QUERIES: Phone: 404.873.8500 | Fax: 404.873.8501
                                                                               October 8, 2021
Atlanta Plumbers and Steamfitters Local 72 Pension Fund                        Invoice #843741
                                                                               Jeffrey D. Gordon
Client/Matter #35002-7                                                         Page 2



                                     Attorney and Paralegal Summary
                                        Hours Worked         Billed Per Hour                       Bill Amount

 Gordon, Jeffrey D.                           0.10                  $475.00                            $47.50

 Withers, C. Knox                             0.30                  $595.00                           $178.50


 Total All Attorneys                             0.40                                                 $226.00




                                           Atlanta, GA | Washington, DC
Atlanta Plumbers and Steamfitters Local 72 Pension Fund                                               October 8, 2021
Attn: Karin Peters                                                                                    Invoice #843741
2010 N.W. 150th Avenue                                                                                Jeffrey D. Gordon
Suite 100
Pembroke Pines, FL 33028

Invoices Due as of October 8, 2021 in connection with:

Client - #35002 - Atlanta Plumbers and Steamfitters Local
Matter - #7 - Metropolitan Mechanical, Inc.

 Invoice No.           Date             Amount Billed                    Amount Received                   Amount Outstanding
   843741            10/08/21                         $226.00                             ($0.00)                     $226.00



                  TOTAL AMOUNT DUE FOR THIS MATTER                                                                    $226.00




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                                           instructions provided below




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                        Arnall Golden Gregory, LLP                                   Phone: 404-873-8500
                        171 17th Street, NW                                          Fax: 404-873-8501
                        Suite 2100                                                   Email: creditremit@agg.com
                        Atlanta, GA 30363

                                                       ACH / Wire Instructions:
                                Name of our bank:                      Truist Bank, Atlanta
                                ABA Bank Routing Number*:              061000104
                                Name of Account to be credited:        Arnall Golden Gregory LLP
                                Account Number to be credited:         1000095973839
                                Reference client name and/or number:   35002-7/843741

                                         *For International wires; SWIFT Code: SNTRUS3A
                                       _________________________________________________________________


                                                    Atlanta, GA | Washington, DC
Atlanta Plumbers and Steamfitters Local 72 Pension Fund                                       November 4, 2021
Attn: Karin Peters                                                                            Invoice #846095
2010 N.W. 150th Avenue                                                                        Jeffrey D. Gordon
Suite 100
Pembroke Pines, FL 33028


For Legal Services Rendered In Connection With:

Client/Matter #35002-7
Metropolitan Mechanical, Inc.



 DATE            TIMEKEEPER                          HOURS         DESCRIPTION
 10/04/21          J. Gordon                           0.50        Conference with Knox Withers regarding
                                                                   Metropolitan Mechanical; conference with Trustees
                                                                   regarding default judgment; legal research

 10/05/21          C. Withers                          0.10        Analysis of Court's order setting aside default and
                                                                   requiring Defendant to answer and deposit $40,000
                                                                   into the Court's registry by October 19, 2021

                                                                                  Total Hours                        0.60

                                                                            Total For Services                    $297.00




                                                                    Fees             Disbursements                   Total
               CURRENT CHARGES:                                $297.00                           $0.00            $297.00

                    Total Balance Due:                         $297.00                           $0.00            $297.00


                                                                               Total This Statement               $297.00




                      A LATE CHARGE OF 1-1/2% PER MONTH WILL BE APPLIED TO BALANCES OUTSTANDING OVER 60 DAYS


                                                          FEI# XX-XXXXXXX

                                                 Atlanta, GA | Washington, DC


                        ALL BILLING RELATED QUERIES: Phone: 404.873.8500 | Fax: 404.873.8501
                                                                               November 4, 2021
Atlanta Plumbers and Steamfitters Local 72 Pension Fund                        Invoice #846095
                                                                               Jeffrey D. Gordon
Client/Matter #35002-7                                                         Page 2



                                     Attorney and Paralegal Summary
                                        Hours Worked         Billed Per Hour                       Bill Amount

 Gordon, Jeffrey D.                           0.50                  $475.00                           $237.50

 Withers, C. Knox                             0.10                  $595.00                            $59.50


 Total All Attorneys                             0.60                                                 $297.00




                                           Atlanta, GA | Washington, DC
Atlanta Plumbers and Steamfitters Local 72 Pension Fund                                               November 4, 2021
Attn: Karin Peters                                                                                    Invoice #846095
2010 N.W. 150th Avenue                                                                                Jeffrey D. Gordon
Suite 100
Pembroke Pines, FL 33028

Invoices Due as of November 4, 2021 in connection with:

Client - #35002 - Atlanta Plumbers and Steamfitters Local
Matter - #7 - Metropolitan Mechanical, Inc.

 Invoice No.           Date             Amount Billed                    Amount Received                   Amount Outstanding
   846095            11/04/21                         $297.00                             ($0.00)                     $297.00



                  TOTAL AMOUNT DUE FOR THIS MATTER                                                                    $297.00




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                        171 17th Street, NW                                          Fax: 404-873-8501
                        Suite 2100                                                   Email: creditremit@agg.com
                        Atlanta, GA 30363

                                                       ACH / Wire Instructions:
                                Name of our bank:                      Truist Bank, Atlanta
                                ABA Bank Routing Number*:              061000104
                                Name of Account to be credited:        Arnall Golden Gregory LLP
                                Account Number to be credited:         1000095973839
                                Reference client name and/or number:   35002-7/846095

                                         *For International wires; SWIFT Code: SNTRUS3A
                                       _________________________________________________________________


                                                    Atlanta, GA | Washington, DC
Atlanta Plumbers and Steamfitters Local 72 Pension Fund                                          December 7, 2021
Attn: Karin Peters                                                                               Invoice #849363
2010 N.W. 150th Avenue                                                                           Jeffrey D. Gordon
Suite 100
Pembroke Pines, FL 33028


For Legal Services Rendered In Connection With:

Client/Matter #35002-7
Metropolitan Mechanical, Inc.



 DATE               TIMEKEEPER                          HOURS          DESCRIPTION
 11/08/21           C. Withers                            0.20         Draft and file second motion for entry of default
                                                                       judgment

                                                                                      Total Hours                          0.20

                                                                                Total For Services                   $119.00




                                                                        Fees             Disbursements                     Total

               CURRENT CHARGES:                                    $119.00                           $0.00            $119.00

                       Total Balance Due:                          $119.00                           $0.00            $119.00


                                                                                   Total This Statement               $119.00




                                            Attorney and Paralegal Summary
                                               Hours Worked                Billed Per Hour                        Bill Amount

 Withers, C. Knox                                      0.20                         $595.00                           $119.00


 Total All Attorneys                                       0.20                                                       $119.00




                         A LATE CHARGE OF 1-1/2% PER MONTH WILL BE APPLIED TO BALANCES OUTSTANDING OVER 60 DAYS


                                                              FEI# XX-XXXXXXX

                                                    Atlanta, GA | Washington, DC


                           ALL BILLING RELATED QUERIES: Phone: 404.873.8500 | Fax: 404.873.8501
Atlanta Plumbers and Steamfitters Local 72 Pension Fund                                               December 7, 2021
Attn: Karin Peters                                                                                    Invoice #849363
2010 N.W. 150th Avenue                                                                                Jeffrey D. Gordon
Suite 100
Pembroke Pines, FL 33028

Invoices Due as of December 7, 2021 in connection with:

Client - #35002 - Atlanta Plumbers and Steamfitters Local
Matter - #7 - Metropolitan Mechanical, Inc.

 Invoice No.           Date             Amount Billed                    Amount Received                   Amount Outstanding
   849363            12/07/21                         $119.00                             ($0.00)                     $119.00



                  TOTAL AMOUNT DUE FOR THIS MATTER                                                                    $119.00




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                        171 17th Street, NW                                          Fax: 404-873-8501
                        Suite 2100                                                   Email: creditremit@agg.com
                        Atlanta, GA 30363

                                                       ACH / Wire Instructions:
                                Name of our bank:                      Truist Bank, Atlanta
                                ABA Bank Routing Number*:              061000104
                                Name of Account to be credited:        Arnall Golden Gregory LLP
                                Account Number to be credited:         1000095973839
                                Reference client name and/or number:   35002-7/849363

                                         *For International wires; SWIFT Code: SNTRUS3A
                                       _________________________________________________________________


                                                    Atlanta, GA | Washington, DC
Plumbers and Steamfitters Local 72 Defined Contribution Fund                                   September 14, 2021
Attn: Karin Peters                                                                             Invoice #841297
2010 N.W. 150th Avenue                                                                         Jeffrey D. Gordon
Suite 100
Pembroke Pines, FL 33028


For Legal Services Rendered In Connection With:

Client/Matter #35003-4
Metropolitan Mechanical, Inc.



 DATE            TIMEKEEPER                          HOURS         DESCRIPTION
 08/09/21          C. Withers                          0.20        Review background documents; draft complaint

 08/10/21          C. Withers                          0.10        Revise draft complaint; finalize same for filing

 08/10/21          R. Snyder                           0.10        Communications with K. Withers, S. Samuels
                                                                   regarding new complaint, Certificate of Interested
                                                                   Person and Corporate Disclosure Statement; draft
                                                                   Summons, civil cover sheet; related communications
                                                                   with team

 08/11/21          R. Snyder                           0.20        Finalize and prepare for entry with court Complaint,
                                                                   Summons, civil cover sheet, Certificate of Interested
                                                                   Persons; communications with K. Withers, S.
                                                                   Samuels regarding filing, service of same

 08/11/21          C. Withers                          0.40        Work on summons and civil cover sheet; draft
                                                                   certificate of interested persons and corporate
                                                                   disclosure statement; draft correspondence to
                                                                   Secretaries of Labor and Treasury regarding
                                                                   complaint; follow-up work regarding same

 08/17/21          C. Withers                          0.10        File affidavit of service

 08/27/21          C. Withers                          0.10        File leave of absence

                                                                                  Total Hours                         1.20

                                                                            Total For Services                   $619.50




                      A LATE CHARGE OF 1-1/2% PER MONTH WILL BE APPLIED TO BALANCES OUTSTANDING OVER 60 DAYS


                                                          FEI# XX-XXXXXXX

                                                 Atlanta, GA | Washington, DC


                        ALL BILLING RELATED QUERIES: Phone: 404.873.8500 | Fax: 404.873.8501
                                                                                     September 14, 2021
Plumbers and Steamfitters Local 72 Defined Contribution Fund                         Invoice #841297
                                                                                     Jeffrey D. Gordon
Client/Matter #35003-4                                                               Page 2




 EXPENSES:
        VENDOR: SunTrust Bankcard, N.A.; INVOICE#: PCARD-8/12/2021;                                        100.50
        DATE: 8/13/2021. Georgia Northern District Court on 8/11/21.


                                                                         Total Expenses                   $100.50




                                                                Fees            Disbursements                Total
               CURRENT CHARGES:                               $619.50                 $100.50              $720.00

                       Total Balance Due:                     $619.50                 $100.50              $720.00


                                                                         Total This Statement              $720.00




                                            Attorney and Paralegal Summary
                                              Hours Worked         Billed Per Hour                    Bill Amount

 Snyder, Rebecca S.                                0.30                   $280.00                           $84.00

 Withers, C. Knox                                  0.90                   $595.00                          $535.50


 Total All Attorneys                                   1.20                                                $619.50




                                                 Atlanta, GA | Washington, DC
Plumbers and Steamfitters Local 72 Defined Contribution Fund                                          September 14, 2021
Attn: Karin Peters                                                                                    Invoice #841297
2010 N.W. 150th Avenue                                                                                Jeffrey D. Gordon
Suite 100
Pembroke Pines, FL 33028

Invoices Due as of September 14, 2021 in connection with:

Client - #35003 - Plumbers and Steamfitters Local 72 Defin
Matter - #4 - Metropolitan Mechanical, Inc.

 Invoice No.           Date             Amount Billed                    Amount Received                   Amount Outstanding
   841297            09/14/21                         $720.00                             ($0.00)                     $720.00



                  TOTAL AMOUNT DUE FOR THIS MATTER                                                                    $720.00




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                        171 17th Street, NW                                          Fax: 404-873-8501
                        Suite 2100                                                   Email: creditremit@agg.com
                        Atlanta, GA 30363

                                                       ACH / Wire Instructions:
                                Name of our bank:                      Truist Bank, Atlanta
                                ABA Bank Routing Number*:              061000104
                                Name of Account to be credited:        Arnall Golden Gregory LLP
                                Account Number to be credited:         1000095973839
                                Reference client name and/or number:   35003-4/841297

                                         *For International wires; SWIFT Code: SNTRUS3A
                                       _________________________________________________________________


                                                    Atlanta, GA | Washington, DC
Plumbers and Steamfitters Local 72 Defined Contribution Fund                                  October 8, 2021
Attn: Karin Peters                                                                            Invoice #843750
2010 N.W. 150th Avenue                                                                        Jeffrey D. Gordon
Suite 100
Pembroke Pines, FL 33028


For Legal Services Rendered In Connection With:

Client/Matter #35003-4
Metropolitan Mechanical, Inc.



 DATE            TIMEKEEPER                          HOURS         DESCRIPTION
 09/08/21          J. Gordon                           0.10        Conference with Knox Withers; phone calls to Harris
                                                                   Hutto and NEBA re: service of process issue

 09/14/21          C. Withers                          0.10        Follow up work on Defendant's default and motion to
                                                                   vacate same

 09/17/21          C. Withers                          0.20        Draft response to motion to vacate default

                                                                                  Total Hours                        0.40

                                                                            Total For Services                    $226.00




                                                                    Fees             Disbursements                   Total
               CURRENT CHARGES:                                $226.00                           $0.00            $226.00

                    Total Balance Due:                         $226.00                           $0.00            $226.00


                                                                               Total This Statement               $226.00




                      A LATE CHARGE OF 1-1/2% PER MONTH WILL BE APPLIED TO BALANCES OUTSTANDING OVER 60 DAYS


                                                          FEI# XX-XXXXXXX

                                                 Atlanta, GA | Washington, DC


                        ALL BILLING RELATED QUERIES: Phone: 404.873.8500 | Fax: 404.873.8501
                                                                               October 8, 2021
Plumbers and Steamfitters Local 72 Defined Contribution Fund                   Invoice #843750
                                                                               Jeffrey D. Gordon
Client/Matter #35003-4                                                         Page 2



                                     Attorney and Paralegal Summary
                                       Hours Worked          Billed Per Hour                       Bill Amount

 Gordon, Jeffrey D.                           0.10                  $475.00                            $47.50

 Withers, C. Knox                             0.30                  $595.00                           $178.50


 Total All Attorneys                             0.40                                                 $226.00




                                           Atlanta, GA | Washington, DC
Plumbers and Steamfitters Local 72 Defined Contribution Fund                                          October 8, 2021
Attn: Karin Peters                                                                                    Invoice #843750
2010 N.W. 150th Avenue                                                                                Jeffrey D. Gordon
Suite 100
Pembroke Pines, FL 33028

Invoices Due as of October 8, 2021 in connection with:

Client - #35003 - Plumbers and Steamfitters Local 72 Defin
Matter - #4 - Metropolitan Mechanical, Inc.

 Invoice No.           Date             Amount Billed                    Amount Received                   Amount Outstanding
   843750            10/08/21                         $226.00                             ($0.00)                     $226.00



                  TOTAL AMOUNT DUE FOR THIS MATTER                                                                    $226.00




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                        171 17th Street, NW                                          Fax: 404-873-8501
                        Suite 2100                                                   Email: creditremit@agg.com
                        Atlanta, GA 30363

                                                       ACH / Wire Instructions:
                                Name of our bank:                      Truist Bank, Atlanta
                                ABA Bank Routing Number*:              061000104
                                Name of Account to be credited:        Arnall Golden Gregory LLP
                                Account Number to be credited:         1000095973839
                                Reference client name and/or number:   35003-4/843750

                                         *For International wires; SWIFT Code: SNTRUS3A
                                       _________________________________________________________________


                                                    Atlanta, GA | Washington, DC
Plumbers and Steamfitters Local 72 Defined Contribution Fund                                  November 4, 2021
Attn: Karin Peters                                                                            Invoice #846096
2010 N.W. 150th Avenue                                                                        Jeffrey D. Gordon
Suite 100
Pembroke Pines, FL 33028


For Legal Services Rendered In Connection With:

Client/Matter #35003-4
Metropolitan Mechanical, Inc.


 DATE            TIMEKEEPER                          HOURS         DESCRIPTION
 10/04/21          J. Gordon                           0.50        Conference with Knox Withers regarding
                                                                   Metropolitan Mechanical; conference with Trustees
                                                                   regarding default judgment; legal research

 10/05/21          C. Withers                          0.10        Analysis of Court's order setting aside default and
                                                                   requiring Defendant to answer and deposit $40,000
                                                                   into the Court's registry by October 19, 2021

                                                                                  Total Hours                        0.60

                                                                            Total For Services                    $297.00




                                                                    Fees             Disbursements                   Total
               CURRENT CHARGES:                                $297.00                           $0.00            $297.00

                    Total Balance Due:                         $297.00                           $0.00            $297.00


                                                                               Total This Statement               $297.00




                      A LATE CHARGE OF 1-1/2% PER MONTH WILL BE APPLIED TO BALANCES OUTSTANDING OVER 60 DAYS


                                                          FEI# XX-XXXXXXX

                                                 Atlanta, GA | Washington, DC


                        ALL BILLING RELATED QUERIES: Phone: 404.873.8500 | Fax: 404.873.8501
                                                                               November 4, 2021
Plumbers and Steamfitters Local 72 Defined Contribution Fund                   Invoice #846096
                                                                               Jeffrey D. Gordon
Client/Matter #35003-4                                                         Page 2



                                     Attorney and Paralegal Summary
                                       Hours Worked          Billed Per Hour                       Bill Amount

 Gordon, Jeffrey D.                           0.50                  $475.00                           $237.50

 Withers, C. Knox                             0.10                  $595.00                            $59.50


 Total All Attorneys                             0.60                                                 $297.00




                                           Atlanta, GA | Washington, DC
Plumbers and Steamfitters Local 72 Defined Contribution Fund                                          November 4, 2021
Attn: Karin Peters                                                                                    Invoice #846096
2010 N.W. 150th Avenue                                                                                Jeffrey D. Gordon
Suite 100
Pembroke Pines, FL 33028

Invoices Due as of November 4, 2021 in connection with:

Client - #35003 - Plumbers and Steamfitters Local 72 Defin
Matter - #4 - Metropolitan Mechanical, Inc.

 Invoice No.           Date             Amount Billed                    Amount Received                   Amount Outstanding
   846096            11/04/21                         $297.00                             ($0.00)                     $297.00



                  TOTAL AMOUNT DUE FOR THIS MATTER                                                                    $297.00




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                        171 17th Street, NW                                          Fax: 404-873-8501
                        Suite 2100                                                   Email: creditremit@agg.com
                        Atlanta, GA 30363

                                                       ACH / Wire Instructions:
                                Name of our bank:                      Truist Bank, Atlanta
                                ABA Bank Routing Number*:              061000104
                                Name of Account to be credited:        Arnall Golden Gregory LLP
                                Account Number to be credited:         1000095973839
                                Reference client name and/or number:   35003-4/846096

                                         *For International wires; SWIFT Code: SNTRUS3A
                                       _________________________________________________________________


                                                    Atlanta, GA | Washington, DC
Plumbers and Steamfitters Local 72 Defined Contribution Fund                                     December 7, 2021
Attn: Karin Peters                                                                               Invoice #849371
2010 N.W. 150th Avenue                                                                           Jeffrey D. Gordon
Suite 100
Pembroke Pines, FL 33028


For Legal Services Rendered In Connection With:

Client/Matter #35003-4
Metropolitan Mechanical, Inc.



 DATE               TIMEKEEPER                          HOURS          DESCRIPTION
 11/08/21           C. Withers                            0.20         Draft and file second motion for entry of default
                                                                       judgment

                                                                                      Total Hours                          0.20

                                                                                Total For Services                   $119.00




                                                                        Fees             Disbursements                     Total

               CURRENT CHARGES:                                    $119.00                           $0.00            $119.00

                       Total Balance Due:                          $119.00                           $0.00            $119.00


                                                                                   Total This Statement               $119.00




                                            Attorney and Paralegal Summary
                                               Hours Worked                Billed Per Hour                        Bill Amount

 Withers, C. Knox                                      0.20                         $595.00                           $119.00


 Total All Attorneys                                       0.20                                                       $119.00




                         A LATE CHARGE OF 1-1/2% PER MONTH WILL BE APPLIED TO BALANCES OUTSTANDING OVER 60 DAYS


                                                              FEI# XX-XXXXXXX

                                                    Atlanta, GA | Washington, DC


                           ALL BILLING RELATED QUERIES: Phone: 404.873.8500 | Fax: 404.873.8501
Plumbers and Steamfitters Local 72 Defined Contribution Fund                                          December 7, 2021
Attn: Karin Peters                                                                                    Invoice #849371
2010 N.W. 150th Avenue                                                                                Jeffrey D. Gordon
Suite 100
Pembroke Pines, FL 33028

Invoices Due as of December 7, 2021 in connection with:

Client - #35003 - Plumbers and Steamfitters Local 72 Defin
Matter - #4 - Metropolitan Mechanical, Inc.

 Invoice No.           Date             Amount Billed                    Amount Received                   Amount Outstanding
   849371            12/07/21                         $119.00                             ($0.00)                     $119.00



                  TOTAL AMOUNT DUE FOR THIS MATTER                                                                    $119.00




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                        171 17th Street, NW                                          Fax: 404-873-8501
                        Suite 2100                                                   Email: creditremit@agg.com
                        Atlanta, GA 30363

                                                       ACH / Wire Instructions:
                                Name of our bank:                      Truist Bank, Atlanta
                                ABA Bank Routing Number*:              061000104
                                Name of Account to be credited:        Arnall Golden Gregory LLP
                                Account Number to be credited:         1000095973839
                                Reference client name and/or number:   35003-4/849371

                                         *For International wires; SWIFT Code: SNTRUS3A
                                       _________________________________________________________________


                                                    Atlanta, GA | Washington, DC
Atlanta Plumbers and Steamfitters Local 72 Retirees                                            September 14, 2021
Attn: Karin Peters,                                                                            Invoice #841298
2010 N.W. 150th Avenue                                                                         Jeffrey D. Gordon
Suite 100
Pembroke Pines, FL 33028


For Legal Services Rendered In Connection With:

Client/Matter #35048-8
Metropolitan Mechanical, Inc.



 DATE            TIMEKEEPER                          HOURS         DESCRIPTION
 08/09/21          C. Withers                          0.20        Review background documents; draft complaint

 08/10/21          C. Withers                          0.10        Revise draft complaint; finalize same for filing

 08/10/21          R. Snyder                           0.10        Communications with K. Withers, S. Samuels
                                                                   regarding new complaint, Certificate of Interested
                                                                   Person and Corporate Disclosure Statement; draft
                                                                   Summons, civil cover sheet; related communications
                                                                   with team

 08/11/21          R. Snyder                           0.20        Finalize and prepare for entry with court Complaint,
                                                                   Summons, civil cover sheet, Certificate of Interested
                                                                   Persons; communications with K. Withers, S.
                                                                   Samuels regarding filing, service of same

 08/11/21          C. Withers                          0.40        Work on summons and civil cover sheet; draft
                                                                   certificate of interested persons and corporate
                                                                   disclosure statement; draft correspondence to
                                                                   Secretaries of Labor and Treasury regarding
                                                                   complaint; follow-up work regarding same

 08/17/21          C. Withers                          0.10        File affidavit of service

 08/27/21          C. Withers                          0.10        File leave of absence

                                                                                  Total Hours                         1.20

                                                                            Total For Services                   $619.50




                      A LATE CHARGE OF 1-1/2% PER MONTH WILL BE APPLIED TO BALANCES OUTSTANDING OVER 60 DAYS


                                                          FEI# XX-XXXXXXX

                                                 Atlanta, GA | Washington, DC


                        ALL BILLING RELATED QUERIES: Phone: 404.873.8500 | Fax: 404.873.8501
                                                                                     September 14, 2021
Atlanta Plumbers and Steamfitters Local 72 Retirees                                  Invoice #841298
                                                                                     Jeffrey D. Gordon
Client/Matter #35048-8                                                               Page 2




  EXPENSES:
         VENDOR: SunTrust Bankcard, N.A.; INVOICE#: PCARD-8/12/2021;                                       100.50
         DATE: 8/13/2021. Georgia Northern District Court on 8/11/21.


                                                                         Total Expenses                   $100.50




                                                                Fees            Disbursements                Total
               CURRENT CHARGES:                               $619.50                 $100.50              $720.00

                       Total Balance Due:                     $619.50                 $100.50              $720.00


                                                                         Total This Statement              $720.00




                                            Attorney and Paralegal Summary
                                              Hours Worked         Billed Per Hour                    Bill Amount

 Snyder, Rebecca S.                                0.30                   $280.00                           $84.00

 Withers, C. Knox                                  0.90                   $595.00                          $535.50


 Total All Attorneys                                   1.20                                                $619.50




                                                 Atlanta, GA | Washington, DC
Atlanta Plumbers and Steamfitters Local 72 Retirees                                                   September 14, 2021
Attn: Karin Peters,                                                                                   Invoice #841298
2010 N.W. 150th Avenue                                                                                Jeffrey D. Gordon
Suite 100
Pembroke Pines, FL 33028

Invoices Due as of September 14, 2021 in connection with:

Client - #35048 - Atlanta Plumbers and Steamfitters Local
Matter - #8 - Metropolitan Mechanical, Inc.

 Invoice No.           Date             Amount Billed                    Amount Received                   Amount Outstanding
   841298            09/14/21                         $720.00                             ($0.00)                     $720.00



                  TOTAL AMOUNT DUE FOR THIS MATTER                                                                    $720.00




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                        171 17th Street, NW                                          Fax: 404-873-8501
                        Suite 2100                                                   Email: creditremit@agg.com
                        Atlanta, GA 30363

                                                       ACH / Wire Instructions:
                                Name of our bank:                      Truist Bank, Atlanta
                                ABA Bank Routing Number*:              061000104
                                Name of Account to be credited:        Arnall Golden Gregory LLP
                                Account Number to be credited:         1000095973839
                                Reference client name and/or number:   35048-8/841298

                                         *For International wires; SWIFT Code: SNTRUS3A
                                       _________________________________________________________________


                                                    Atlanta, GA | Washington, DC
Atlanta Plumbers and Steamfitters Local 72 Retirees                                           October 8, 2021
Attn: Karin Peters,                                                                           Invoice #843744
2010 N.W. 150th Avenue                                                                        Jeffrey D. Gordon
Suite 100
Pembroke Pines, FL 33028


For Legal Services Rendered In Connection With:

Client/Matter #35048-8
Metropolitan Mechanical, Inc.



 DATE            TIMEKEEPER                          HOURS         DESCRIPTION
 09/08/21          J. Gordon                           0.10        Conference with Knox Withers; phone calls to Harris
                                                                   Hutto and NEBA re: service of process issue

 09/14/21          C. Withers                          0.10        Follow-up work on Defendant's default and motion to
                                                                   vacate same

 09/17/21          C. Withers                          0.30        Draft response to motion to vacate default

                                                                                  Total Hours                        0.50

                                                                            Total For Services                    $285.50




                                                                    Fees             Disbursements                   Total
               CURRENT CHARGES:                                $285.50                           $0.00            $285.50

                    Total Balance Due:                         $285.50                           $0.00            $285.50


                                                                               Total This Statement               $285.50




                      A LATE CHARGE OF 1-1/2% PER MONTH WILL BE APPLIED TO BALANCES OUTSTANDING OVER 60 DAYS


                                                          FEI# XX-XXXXXXX

                                                 Atlanta, GA | Washington, DC


                        ALL BILLING RELATED QUERIES: Phone: 404.873.8500 | Fax: 404.873.8501
                                                                                October 8, 2021
Atlanta Plumbers and Steamfitters Local 72 Retirees                             Invoice #843744
                                                                                Jeffrey D. Gordon
Client/Matter #35048-8                                                          Page 2



                                      Attorney and Paralegal Summary
                                         Hours Worked         Billed Per Hour                       Bill Amount

 Gordon, Jeffrey D.                            0.10                  $475.00                            $47.50

 Withers, C. Knox                              0.40                  $595.00                           $238.00


 Total All Attorneys                              0.50                                                 $285.50




                                            Atlanta, GA | Washington, DC
Atlanta Plumbers and Steamfitters Local 72 Retirees                                                   October 8, 2021
Attn: Karin Peters,                                                                                   Invoice #843744
2010 N.W. 150th Avenue                                                                                Jeffrey D. Gordon
Suite 100
Pembroke Pines, FL 33028

Invoices Due as of October 8, 2021 in connection with:

Client - #35048 - Atlanta Plumbers and Steamfitters Local
Matter - #8 - Metropolitan Mechanical, Inc.

 Invoice No.           Date             Amount Billed                    Amount Received                   Amount Outstanding
   843744            10/08/21                         $285.50                             ($0.00)                     $285.50



                  TOTAL AMOUNT DUE FOR THIS MATTER                                                                    $285.50




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                        Atlanta, GA 30363

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                                Account Number to be credited:         1000095973839
                                Reference client name and/or number:   35048-8/843744

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                                       _________________________________________________________________


                                                    Atlanta, GA | Washington, DC
Atlanta Plumbers and Steamfitters Local 72 Retirees                                           November 4, 2021
Attn: Karin Peters,                                                                           Invoice #846097
2010 N.W. 150th Avenue                                                                        Jeffrey D. Gordon
Suite 100
Pembroke Pines, FL 33028


For Legal Services Rendered In Connection With:

Client/Matter #35048-8
Metropolitan Mechanical, Inc.


 DATE            TIMEKEEPER                          HOURS         DESCRIPTION
 10/04/21          J. Gordon                           0.50        Conference with Knox Withers regarding
                                                                   Metropolitan Mechanical; conference with Trustees
                                                                   regarding default judgment; legal research

 10/05/21          C. Withers                          0.10        Analysis of Court's order setting aside default and
                                                                   requiring Defendant to answer and deposit $40,000
                                                                   into the Court's registry by October 19, 2021

                                                                                  Total Hours                        0.60

                                                                            Total For Services                    $297.00




                                                                    Fees             Disbursements                   Total

               CURRENT CHARGES:                                $297.00                           $0.00            $297.00

                    Total Balance Due:                         $297.00                           $0.00            $297.00


                                                                               Total This Statement               $297.00




                      A LATE CHARGE OF 1-1/2% PER MONTH WILL BE APPLIED TO BALANCES OUTSTANDING OVER 60 DAYS


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                        ALL BILLING RELATED QUERIES: Phone: 404.873.8500 | Fax: 404.873.8501
                                                                                November 4, 2021
Atlanta Plumbers and Steamfitters Local 72 Retirees                             Invoice #846097
                                                                                Jeffrey D. Gordon
Client/Matter #35048-8                                                          Page 2



                                      Attorney and Paralegal Summary
                                         Hours Worked         Billed Per Hour                       Bill Amount

 Gordon, Jeffrey D.                            0.50                  $475.00                           $237.50

 Withers, C. Knox                              0.10                  $595.00                            $59.50


 Total All Attorneys                              0.60                                                 $297.00




                                            Atlanta, GA | Washington, DC
Atlanta Plumbers and Steamfitters Local 72 Retirees                                                   November 4, 2021
Attn: Karin Peters,                                                                                   Invoice #846097
2010 N.W. 150th Avenue                                                                                Jeffrey D. Gordon
Suite 100
Pembroke Pines, FL 33028

Invoices Due as of November 4, 2021 in connection with:

Client - #35048 - Atlanta Plumbers and Steamfitters Local
Matter - #8 - Metropolitan Mechanical, Inc.

 Invoice No.           Date             Amount Billed                    Amount Received                   Amount Outstanding
   846097            11/04/21                         $297.00                             ($0.00)                     $297.00



                  TOTAL AMOUNT DUE FOR THIS MATTER                                                                    $297.00




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                                Account Number to be credited:         1000095973839
                                Reference client name and/or number:   35048-8/846097

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                                       _________________________________________________________________


                                                    Atlanta, GA | Washington, DC
Atlanta Plumbers and Steamfitters Local 72 Retirees                                              December 7, 2021
Attn: Karin Peters,                                                                              Invoice #849368
2010 N.W. 150th Avenue                                                                           Jeffrey D. Gordon
Suite 100
Pembroke Pines, FL 33028


For Legal Services Rendered In Connection With:

Client/Matter #35048-8
Metropolitan Mechanical, Inc.



 DATE               TIMEKEEPER                          HOURS          DESCRIPTION
 11/08/21           C. Withers                            0.20         Draft and file second motion for entry of default
                                                                       judgment

                                                                                      Total Hours                          0.20

                                                                                Total For Services                   $119.00



                                                                        Fees             Disbursements                     Total
               CURRENT CHARGES:                                    $119.00                           $0.00            $119.00

                       Total Balance Due:                          $119.00                           $0.00            $119.00


                                                                                   Total This Statement               $119.00




                                            Attorney and Paralegal Summary
                                               Hours Worked                Billed Per Hour                        Bill Amount

 Withers, C. Knox                                      0.20                         $595.00                           $119.00


 Total All Attorneys                                       0.20                                                       $119.00




                         A LATE CHARGE OF 1-1/2% PER MONTH WILL BE APPLIED TO BALANCES OUTSTANDING OVER 60 DAYS


                                                              FEI# XX-XXXXXXX

                                                    Atlanta, GA | Washington, DC


                           ALL BILLING RELATED QUERIES: Phone: 404.873.8500 | Fax: 404.873.8501
Atlanta Plumbers and Steamfitters Local 72 Retirees                                                   December 7, 2021
Attn: Karin Peters,                                                                                   Invoice #849368
2010 N.W. 150th Avenue                                                                                Jeffrey D. Gordon
Suite 100
Pembroke Pines, FL 33028

Invoices Due as of December 7, 2021 in connection with:

Client - #35048 - Atlanta Plumbers and Steamfitters Local
Matter - #8 - Metropolitan Mechanical, Inc.

 Invoice No.           Date             Amount Billed                    Amount Received                   Amount Outstanding
   849368            12/07/21                         $119.00                             ($0.00)                     $119.00



                  TOTAL AMOUNT DUE FOR THIS MATTER                                                                    $119.00




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                        Atlanta, GA 30363

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                                Name of our bank:                      Truist Bank, Atlanta
                                ABA Bank Routing Number*:              061000104
                                Name of Account to be credited:        Arnall Golden Gregory LLP
                                Account Number to be credited:         1000095973839
                                Reference client name and/or number:   35048-8/849368

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